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               Exhibit 2
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




US DOMINION, INC., et al.,

Plaintiffs/Counter-Defendants,

        v.                                 Civil Action No. 1:21-cv-00040 (CJN)

SIDNEY POWELL, et al.,

Defendants/Counter-Plaintiffs.



US DOMINION, INC., et al.,

Plaintiffs,

        v.                                 Civil Action No. 1:21-cv-00213 (CJN)

RUDOLPH W. GIULIANI,

Defendant.


US DOMINION, INC., et al.,
Plaintiffs/Counter-Defendants,

        v.

MY PILLOW, INC., et al.,                   Civil Action No. 1:21-cv-00445 (CJN)
Defendants/Counter- and
Third-Party Plaintiffs,

       v.

SMARTMATIC USA CORP., et al.,

Third-Party Defendants.




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US DOMINION, INC., et al.,

Plaintiffs,

         v.                                           Civil Action No. 1:21-cv-02131 (CJN)

PATRICK BYRNE,

Defendant.




 US DOMINION, INC., et al.,

 Plaintiffs/Counter-Defendants,

         v.                                         Civil Action No. 1:21-cv-02130 (CJN)

 HERRING NETWORKS, INC., et al, .
 Defendant.




              STIPULATION AND ORDER GOVERNING EXPERT DISCOVERY

        Pursuant to Rule 26 and Rule 29 of the Federal Rules of Civil Procedure and Local Civil

Rule 16.6, Plaintiffs U.S. Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corporation (“Dominion”), and Defendants Rudolph Giuliani, My Pillow, Inc., Michael

J. Lindell, Sidney Powell, Sidney Powell, P.C., Defending the Republic, Inc., Patrick Byrne,

Herring Networks, Inc. d/b/a One America News Network, Charles Herring, Robert Herring, Sr.,

Chanel Rion, and Christina Bobb (“Defendants”) (collectively “the parties”), by and through their

undersigned counsel, hereby stipulate and agree to the following regarding the scope of expert

discovery in each of the above-captioned matters (the “Dominion Cases”), which have either been




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consolidated or voluntarily coordinated for purposes of discovery. 1

         1.     The parties shall comply with the Federal Rules of Civil Procedure and this

stipulation, except to the extent the stipulation conflicts with the Federal Rules, in which case the

stipulation governs.

         2.     The parties will make all disclosures required by Rule 26(a)(2)(B) of the Federal

Rules of Civil Procedure, as modified by the provisions of this stipulation and subject to the

limitations set forth in Rule26(b)(4) of the Federal Rules of Civil Procedure and all applicable

Court orders.

A.       Disclosure of Documents Relied Upon by Experts

         3.     For purposes of expert discovery in these matters, the term “considered” as used in

Rule 26(a)(2)(B)(ii) and Rule 26(b)(4)(C)(ii) of the Federal Rules of Civil Procedure means “relied

upon.”

         4.     At the time an expert’s report is provided, the party proffering a testifying expert

will also produce to the other parties taking the testifying expert’s deposition the following

documents relied upon by a testifying expert in this case:

                a.      Documents relied upon by a testifying expert in the Dominion Cases that

                were obtained by one party from third parties and not produced to the other parties

                in this action;

                b.      Documents relied upon by a testifying expert in the Dominion Cases that



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  Specifically, the Court consolidated for discovery purposes only the above-captioned matters
styled US Dominion Inc., et al. v. Powell, et al., No. 1:21-cv-0040-CJN (D.D.C.), US Dominion
Inc., et al. v. Giuliani, No. 1:21-cv-213-CJN (D.D.C.), US Dominion Inc., et al. v. MyPillow, Inc.,
et al., No. 1:21-cv-00445-CJN (D.D.C.) and US Dominion, Inc., et al. v. Herring Networks, et al.,
No 1:21-cv-02130-CJN (D.D.C.). To align the US Dominion Inc., et al. v. Patrick Byrne, No. 1:21-
cv-02131-CJN (D.D.C.) matter with these, counsel for Dominion and Byrne have further agreed
to voluntarily coordinate discovery between the Dominion Cases.


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                have not been previously produced to the other parties in this action, excluding any

                publications or learned treatises if they are publicly available;

                c.      Documents relied upon by testifying expert in the Dominion Cases that were

                produced in the Dominion Cases for which there is no common Bates numbering

                or deposition exhibit number; and

                d.      Documents prepared by a non-testifying expert that were relied upon by a

                testifying expert in the Dominion Cases.

        5.      Notwithstanding any of the provisions set forth herein, no communications between

counsel for a party and the party’s expert shall be produced, and no draft expert reports are

discoverable.

        6.      No party shall be required to produce any privileged work product between the

expert witness and the proffering party’s counsel regardless of when exchanged, and no party is

required to produce any draft expert report.

        7.      At the time an expert’s report is provided, each party proffering the testifying expert

will produce to the other parties: (a) the testifying expert’s curriculum vitae; (b) a list of Materials

relied upon by the expert, identified by Bates stamp or deposition exhibit number, if applicable, ,

or if not Bates stamped, by providing for the date and title of the material, or if publicly available,

the date and title of the material and a URL link (if located through reasonable efforts); (c) a list

that will include, at a minimum, the cases, administrative matters, or other proceedings in which the

expert has given trial or other testimony in public within the last four (4) years, without prejudice

to any party’s right to request such information for a period not to exceed ten (10) years. If the

request for information exceeding four (4) years is opposed, the party seeking such additional

information may apply to the Court for relief. The list also will include the name of the matter, the




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name of the court or other public body, the names of the parties and their attorneys, whether the

expert or the party for which he is testifying has a copy of the testimony, and a brief description

of the nature of the proceeding.

B.      Depositions of Testifying Experts

        8.      As soon as practicable, the party taking a deposition will advise the other parties of

its good faith estimate of the amount of time it is anticipated that the testifying expert’s deposition

will take, to be no longer than 7 hours on the record absent agreement by the parties or Court order.

        9.      Each party will pay its testifying experts’ fees and expenses incurred in connection

with the deposition of its own experts. All costs incurred in the production of documents discussed

herein shall also be borne by the party producing the documents, unless modified by agreement of

the parties or Court order.

        10.     The parties will make a good faith effort to schedule testifying expert depositions

at locations convenient for counsel and the experts. In the absence of any agreement, each

deposition will take place at the location of the presenting party’s counsel’s offices.

        11.     Testifying expert witnesses will appear for depositions without the necessity of

subpoenas.

        12.     Nothing in this stipulation shall be construed to prevent or prohibit any party from

challenging an expert’s qualifications or the admissibility of his or her opinion or report.


IT IS SO ORDERED.

                                                       ___________________________
                                                       HON. MOXILA A. UPADHYAYA
                                                       United States Magistrate Judge
DATE:         September 16, 2024




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